  Case 1:19-cr-20447-AHS
             Case 3:23-cv-04238-LB
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                               U NITED STATES D ISTRICT C OURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                        FORT LAUD ERDALE DIVISION

 UNITED STATES OF AM ERICA                                             AM ENDED JUDG M ENT IN A CR IM INAL CASE


                                                                       CaseNumber:1:19-CR-20447-AHS(1)
 BENJAM IN FORRESTM /CONLEY                                            U SM N um ber:18321-104
 DateofO riginalJudgm ent:9/14/2021
                                                                       CounselforDefendant:ArmandoRoberto Alfonso
                                                                       CounselforUnited States:ChristopherBârrettBrowne
TH6 DEFENDANT:
 El pleadedguikt.ytocountts)                        1oftheIndictment
    pleadedguiltytocountts)beforeaU.S.
 E1 M agistrateJudge,whichwasacceptedby the
      court.
      pleadednolocontenderetocountts)whichwas
      acce tedb thecourt     . '
 E1 wasfoundguiltyoncountts)afterapleaofnot
       uil

Thedefendantisadjudicatedguiltyoftheseoffenses:
 Title& Section /NatureofOffense                                                            Offense Ended      Count
 18U.S.C.j 1349Conspiracytocommitwirefraud                                                  06/2019            1




Thedefendantissentencedasprovidedinpages2through7ofthisjudgment.ThesentenceisimposedpurspanttotheSentencing
Refonn Actof1984.               '

 E(1 Thedefendanthasbeenfoundnotguiltyoncountts)
 (
 ZI countts) EEIis EZI aredismissedonthemotionoftheUnitedStates
       ltisorderedthatthedefendantmustnotify theUnited Statesattorneyforthisdistrictwithin30 daysofany changeofname,
residence,ormailingaddressuntila1ffines,restitution,costs,andspecialassessmentsimposedbythisjudgmentarefullypaid.lf
orderedtopay restitution,thedefendantmustnotifythecourtand UnitedStatesattorney ofmaterialchangesin economlc
circum stances.

                                                         Februarv 16.2022
                                                         Da      Im      'ionofJudgment h


                                                            lgnatur       dgC                       '4.

                                                         R AA G SIN G H AL
                                                         VYI TXW iAAAO JY TBN -T-K PGE - --.-- .- -
                                                         NameandTitleofJu c'e

                                                        -   /f '
                                                         D'k?e
                                                                   .            k   . .-   s,=                            -   .
    Case 1:19-cr-20447-AHS
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 AO 245C (Rev.FLSD 2/20)AmendedJudgmentinaCriminalCase                                                 Judgment- Page2of7

DEFENDAN T:               BENJA M m FORREST M CCONLEY
CASE NUM BER:              1:19-CR-20447-AHS(1)
                                                  IM PR ISO N M EN T

Thedefendantisherebycommitledto thecustody oftheUnited StatesBureauofPrisonsto beimprisonedforatotalterm of:

156 M onthsasto Count1oftheIndictm ent.

    I
    ZI ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
          Thatthedefendantbedesignatedto afacility inthe SouthernDistrictofFlorida,and participation in the500hourdrug
          treatm entprogram .


    !
    ZI ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
,
    Z ThedefendantshallsurrendertotheUnitedStatesMarshalforthisdistrict:

           EEI at                                    a.m.      EZI p.m. on

                asnotifiedbytheUnitedStatesM arshal.

        Thedefendantshallsurrender.forserviceofsentenceattheinstim tion designatedby theBureau ofPrisons:

           Z before2p.m.on
           EEI asnotifiedbytheUnitedStatesMarshal.
           (71 asnotifiedbytheProbationorPretrialServicesOffice.


                                                        R E TU R N
lhaveexecutedthisjudgmentasfollows:

          Defendantdeliveredon        '                      to

at                   ' '         '.    withaceMifiedcopyofthisjudgment.


                                                                                  UNITED STATESM ARSHAL

                                                                                            By
                                                                              DEPUTY UNITED STATES MARSHAL
  Case 1:19-cr-20447-AHS
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DEFENDANT:             BENJAM IN FORREST M CCON LEY
CASE NUM BER:          1:19-CR-20447-AHS(1)

                                         SU PE R V ISED R E LEA SE
Uponreleasefrom imprisonment,thedefendantshallbeon supervisedreleaseforaterm of:Three (3)Years.
        Thedefendantmustreporttotheprobation officeinthedistricttowhichthedefendantisreleasedwithin 72 hoursùfrelease
from thecustodyoftheBureau ofPrisons.

                                      M A N D A T O R Y C O N D ITIO N S

     You mustnotcommitanotherfederal,stateorlocalcrime.
     You mustnotunlawfully possessacontrolled substance.
     You mustrefrain from any unlawfuluseofacontrolled substance.You mustsubmitto onedrug testwithin 15 daysofrelease
     from imprisonmentandatleasttwoperiodicdrugteststhereafter,asdeterminedby thecourt.
          IJ Theabovedrugtestingconditionissuspended,basedonthecourt'  sdeterminationthatyouposealow riskoffuture
               substanceabuse.(checkfapplicable)
          Youmustmakerestitutioninaccordancewith18U.S.C.jj3663and3663A oranyotherstamteauthorizingasentence
          ofrestitution.(checkfapplicable)
     EI YoumustcooperateinthecollectionofDNA asdirectedbytheprobationofficer.(checkfapplicablej
     !
     7) YoumustcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(34U.S.C.j20901,et
          seq.)asdirçctedbytheprobationofficer,theBureauofPrisons,oranystatesexoffenderregistrationagency inwhich
          youreside,work,areastudent,orwereconvictedofaqualifyingoffense.(checkfapplicable)
     E111 Youmustparticipateinanapprovedprogram fordomesticviolence.(checkfapplicable)
        You mustcomply withthestandardconditionsthathavebeen adopted bythiscourtaswellaswith any additional
 condltionsontheattachedpage.
  Case 1:19-cr-20447-AHS
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DEFENDANT:              BENJAM IN FO RREST M CCONLEY
CASE N UM BER:          1:19-CR-20447-AHS(1)
                           STA        ARD CO ND ITIO NS OF SUPERV ISION
Aspartofyoursupervised release,youmustcomply with the following standard conditionsofsupervision.Theseconditionsare
imposedbecausethey establish thebàsicexpectatipnsforyourbehaviorwhileonsupervisionand identify theminimum topl'sneeded
by probationofficerstokeep informed,repol'
                                         ttothecourtabout,and bring aboutimprovementsin yourconductandcondition,

1.Youmustreporttotheprobationofficeinthefederaljudicialdistrictwhereyouareauthorizedtoresidewithin72hoursofjour
releasefrom imprisonment,unlesstheprobationofficerinstructsyouto reportto adifferentprobation officeorwithin adifferenttime
fram e.
2.Afterinitially reportingtotheprobationoffice,youwillreceiveinstructionsfrom thecourtortheprobation officerabouthow and
when youmustreporttotheprobation officer,and youmustreporttotheprobation officerasinstructed. .
3..Youmustnotknowinglyleavethefederaljudicialdistrictwhereyouareauthorizedtoresidewithoutfirstgetingpennissionfrom
thecoul'
       tortheprobation officer.
4.Youmustanswertruthfullythequestionsasked by yourprobation officer.
5.YoumustIiveataplaceapproved by theprobation offfcer.lfyouplan tochangewhereyouIiveoranythingaboutyourliving
arrangements(suchasthepeopleyoulivewith),youmustnotifytheprobationofficeratleast10daysbeforethechange.lfnotifying
theprobation officerin advanceisno'
                                  tpossibledueto unanticipatedcircumstances,you mustnotify theprobation officerwiihin72
hoursofbecom ingawareofachangeorexpected'change.
6.Youmustallow theprobation officertovisity'ouatany timeatyourhomeorelsewhere,and youmustpennittheprobationofficer
totékeany itemsprohibited bytheconditionsofyoursupervision thatheorsheobservesin plain view .
7.Youmustworkfulltime(atleast30hou'
                                  rsperweek)atalawfultypeofemploymént,unlesstheprobationofficerexcusesyoufrom
doingso.lfyoudonothavefull-timeemploymentyou musttry tofind full-timeemployment,unlesstheprobation officerexcuses
youfrom doingso.Ifyouplantochangewhereyouworkoranythingaboutyourwork(suchasyourpositionoryourjob
responsibilities),youmustnotifytheprobationofficeratleastl0daysbeforethechange.Ifnotifyingtheprobationofficeratleast10
daysin.advanceisnotpossibleduetounanticipated circumstances,you mustnotifytheprobationofficerwithin 72 hoursof
becômingawareofacha' n'
                      georexpected change.
8.Yottmustnotcommunicateorinteractwith som eoneyouknow isengaged in criminalactivity.lfyou know someonehasbeen
convictedofafelony,youmustnotknowingly communicateorinteractwiththatperson withoutfirstgettingthepermission ofthe
probationofficerk
9.lfyouarearrestedorquestionedbfa1aw enforcementofficer,youmustnotifytheprobationofficerwithin72hours.
 10.Youmustnotown,possess,orhaveaccesstoafirearm,ammunition,destructivedevice,ordangerousweapgn(i.e.,anythingthat
wasdesigned,orwasmodifiedfor,thespecificpumoseofcausingbodilyinjuryordeathtoanotherpersonsuchasnunchakusor
tasers).                                                                                                     .
11.Youmustnotactormakeany agreementwith a1aw enforcementagency toactasaconfidentialhuman sourceorinfonnant
withoutfirstgettingthepermission ofthecourt.
12.lftheprobationofficerdetermine,
                                 sthatyouposearisktoanotherperson(includinganorganization),theprobationofficerma#
requireyoutonotifythepersonabouttheriskandyoumustcomplywiththatinstruction.Thejrobationofficermaycontactthe
personand confirm thatyou havenotified theperson abouttherisk.
13.You mustfollow theinstructionsoftheprobation officerrelated totheconditionsofsupervision.

U .S.Probation O fice U se O nly

A U.S.probation officerhasinstructedm eon theconditionsspecifiedby thecoul'tand hasprovidedm ewith a
writtencopyofthisjudgmentcontainingtheseeonditions.lunderstandadditionalinfonnationregardingthese.
conditionsisavailableatthewww.flsp.uscourts.gov.

 D'
  efendant'sSignature             .                                                     Date
  Case 1:19-cr-20447-AHS
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DEFENDANT:            BENJAM IN FO RREST M CCONLEY
CA SE N UM BER:       1:19-CR-20447-AHS(l)
                           SPE C IA L C O N D ITIO N S O F SU PER V ISIO N
NoN ew DebtRestriction:Thedefendantshallnotapply for,solicitorincurany furtherdebt,inclvded butnot
limited to loans,linesofcreditorcreditcard charges,eitherasaprincipalorcosigner,asan individualor
through any cop orateentity,withoutfirstobtaining perm ission from theUnited StatesProbation Officer.
Unpaid Restituiion,Fines,or SpecialAssessm ents:lfthe defendanthasany unpaid amountofrestitution,
fines,orsjecialassessments,thedefendantshallnotifytheprobationofficerofany materialchangeinthe
defendant'seconom iccircum stancesthatmightaffectthedefendant'sability to pay.
  Case 1:19-cr-20447-AHS
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DEFENDANT:               BENJAM IN FO RREST M CCON LEY
CASE N UM BER:           1:19-CRQ0447-AHS(1)
                                   CR IM IN A L M O N E TA R Y PEN A L TIES
                           Assessm ent           Restitution              Fine A VAA Assessm entW          JVTA Assessm ent*W
TOTALS                          $100.00        $9,113,122.36               $.00                   S.00                '
                       Thedetennination ofrestitution isdefen'ed until       AnAmendeduhtdgmentina CriminalCase
                       (AO245C)willbeenteredaftersuchdetermination.
         Q             Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesinthe
                       am ountlisted below .


        Thedefendantmustpay the'totalcrim inalmonetaly penaltiesunderthescheduleofpaymentspage.
        Ifthedefcndantmakesapartialpayment,each payeeshallreceive anapproximately proportionedpayment.However,pursuantto 18 U.S.C.
        j3664(i),a1lnonfederalvictimsmustbepaidLeforetheUnitedStatesispaid.


 Elj RestitutionamountorderedptysuanttopleaagreementS
 I71 Thedefendantmustpayinterestonrestitutionandafineofmorethan$2,500,unlesstherestitutionorfineispaidinfullbefore
      thetifteenthdayafterthedateofthejudjment,pursuantto18U.S.C.j3612(9.A11ofthepaymentoptionsonthescheduleof
     paymentspagemaybesubjecttopenaltlesfordelinquencyanddefault,pursuantto l8U.S.C.j3612(g).
 EEI Thecourtdetenninedthatthedefendantdoesnothavetheabilitytopayinterestanditisorderedthat:
     EII theinterestrequirementiswaivedforthe I  J fine                       EI11 restitution
     IEII theinterestrequirementforthe          (44() fine                    (E1 restitutionismodifiedasfollows:
        Restitution with Imprisonment-Itisfurtherorderedthatthedefendantshallpay restitution in theamountof,
                                                                                                           $9,113,122.36.
        Duringtheperiodofincarceration,paymentshallbemadeasfollows:(l)ifthedefendantearnswagesinaFederalPrison
        lndustries(UNICOR)job,thenthedefendantmustpay50% ofwagesealmedtowardthefinancialobligationsimposedbythis
        JudgmentinaCriminalCase;(2)ifthedefendantdoesnotworkinaUNlCORjob,thenthedefendantmustpayaminimum
        of$25.00 perquartertowardthefinancialobligationsimposed in thisorder.Upon releaseofincarceration,thedefendant
        shallpayrestitutionattherateof10% ofmonthlygrossearnings,untilsuch tim easthecourtmay alterthatpayment
        scheduleintheinterestsofjustice.TheU.S.BureauofPrisons,U.S.ProbationOfficeandU.S.Attorney'sOfticeshall
        monitorthepaymentofrestitution andreporttothecourtany materialchange inthedefendant'sability topay.These
        paymentsdonotprecludethegovernm entfrom using otherassetsorincomeofthedefendanttosatisfy therestitution
        obligations.Therestitutionshallbemadepayableto Clerk,United StatesCourts,andforwarded to:
         U.S.C LERK 'S O FFICE                                               '
        ATTN:FINANCIAL SECMION
        400NORTH M IAM IAVENUE,ROO M 8N09
        M IA M I,FLO RID A 33128-7716

### Findingsforthetotalamountoflossesarerequired underChaptersl09A,110,1l0A,and ll3A ofTitle l8 foroffensescomm itted on orafter
Septemberl3,l994,butbeforeApril23,,1996.
         Case 1:19-cr-20447-AHS
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       DEFEN DANT:              BENJA M IN FORREST M CCONLEY
       CASE NUM BER:            1:19-CR.20447-AHS(1)
                                             SC H ED U LE O F PA Y M EN TS
       Havingassessedthedefendant'sability topay,paymentofthetotalcrilninalmonetary penaltiesisdueasfollows:

       A     I
             H   Lumpsum paymentsof$100.00dueimmediately,balancedue
       Itisordered thattheDefendantjhallpay to theUnited Statesa specialassessmentof$100.00 forCount1,which shallbedue
       imm ediately.Said specialassessm entshallbepaid to theClerk,U.S.DistrictCourt.Paym entisto beaddressed to:

              U.S.CLERK 'S OFFICE
              ATTN:FINANCIAL SECTION
              400 NORTH MIAM IAVENUE,ROOM 8N09
              M IAM I,FLO RIDA 33128-7716

      Unlessthecou/ hasexpresslyordere'
                                      dotherwise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetarypenaltiesis
      dueduring imprisonment.A11criminalmonetary penalties)exceptthosepaymentsmadethrough theFederalBureau ofPrisons'
      InmateFinancialResponsibility Program,arem adetotheclerk ofthecourt,
      Thedefendantshallreceivecreditfora11paymentspreviouslymadetowardany crim inalmonetary penaltiesimposed.

        Q    Jointand Several          .
             SeeaboveforDefendantand Co-DefendantNamesandCaseNumbers(includingdep ndantnumber),TotalAmount,Jointand
             SeveralAmount,and corresponding payee,ifappropriate.

        I
        XI Thedefendantshallforfeitthedefendant'sinterestinthefollowingpfopertyiotàeUnitedStates:
             M oneyJudgmentintheamountof$69,000,000.00
     i. The realprnperty located at2907 W oodrich Drivej Tallahas:ee,F1.,32301,including aIlbuildings,fixturesfgppurtenanclp
     attachments andeasementsfounéthereinorthereon,alsoknownas1LOT 12jBLOCK C,CROSSCREEK (UNRECORDED):,.
    Comm
    Pl enceata toncretemonumtptmarking theSouthwestcornerofLnt23, Bloclt,M ofRichland UnltNo.3,ns recorded in
       atBook 4,Page2l,ofthePublicRecordsnfLeon Count. Florida,and run North 00 degrees20m inute 15 secondsEastalong
    53 W estboundaryofLots73 and 22 ofsaid Block M !adistanceof110.92 feetto aconcretem cnument,thtnceNorth 89 degrees
    the
        minutes48 secolld:W esj925.00 feetto an iron pln forthe POINT OF.BEGG NING,From <aid POINT OF BEGINNING
    c
    12 tinuethenceNorih 89 degrees.53 m inutes48secondsW e:t70.00 feetto nn lron pin,run thenceNcrth 00 degrees06m inutes
     c n
        secondsEast1.83.91feettoan lron pin cn the Southerly rightofway ofW oodrich Drlve
    t                                                                                     ,said pointlyingon a curve eoncave
     n theNortheasterly,thencefrom a tangentbearing ofSouth 70 degrees12 minutes22 second.çEastrun Southeasterlyalong snid
    curvewith a radinsof391.86 feeh lhrough a centralanglenf10 degrees34 minute:55 seconds, foran srcdistanccof72.37feet
    to
    OFan   ironNNI
         BRGI  pin,thenceleavingsaid Southerly rightofway run South 00degries06 m inute.s12secondsW est164.94 to the POIN'r
                  NG
                    ,

    ParcelldentificationNo.310430 C0120;
    ii. The real prpperty located at 1470 Apple Alley Street, Bartlesvillej OK 74006, includhlg aI1 buildings
                                                         .
    apàurtenanee-s,attachm tnts,and easem entsfound therein or thereon                                       , f
                                                                                                               ixtures,
'                                                                   snlsoknownas:
    Lot6,Traet3,Grove,Bartl%ville,W ashington Countyj Oklahom a,
    Parcelldentificaticn No.010143-0'
                                    03006-000000-019
    iil. The resl proptrty loeated at 1444 Oakdale Drivea Bartlesvillej Oklahom a 740069 includina a11 buildings
                                    #                                                                           , fixttlres,
    appurtenances,attachments,and easem entsfound therein orthereon,alsô known as:               ''''   x



    L0t5,Block3% WtmdlandParkFourteenthAddition,Bartlesville,WashingtonCounty,O ltlahom a,
    ParcdlIdentiItcationNo.010544-0'
                                   32005-000000-01;and
.
    1v.Apjroxlmately$519459.15in'U.$.currencyheldinGovernmentcustodyassubstituteril.l
